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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

UNITED STATES OF AMERICA

vs.                                                           Case No: 8:03-CR-448-T-23EAJ

REGINALD LEON THOMAS


                                            ORDER

       Upon the motion of counsel for the defendant, the Court finding there is reason to believe

that an examination of the defendant is necessary and proper in order to determine if he is competent

to stand trial, pursuant to 18 U.S.C. §§4241, 4242 and 4247, it is

       ORDERED:

       1. That Dr. Donald Taylor, an expert in the field of psychiatry, is appointed to conduct an

examination of the defendant in order to determine his present competency to stand trial, which shall

include his ability to understand the nature and consequences of the proceedings against him and

his ability to assist properly in his defense. The examination shall take place on August 17, 2006

and Dr. Taylor shall prepare a written report within 7-10 days following the examination. In making

his determination, Dr. Taylor shall include in his report the following items:

       (1)             the person's history and present symptoms

       (2)             a description of the psychiatric, psychological, and medical tests that were
                       employed and their results;

       (3)             the examiner's findings; and

       (4)             the examiner's opinions as to diagnosis, prognosis; and

       (5)             whether the person is suffering from a mental disease or defect rendering him
                       mentally incompetent to the extent that he is unable to understand the nature
                       and consequences of the proceedings against him or to assist properly in his
                       defense.
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With regard to item (5), Dr. Taylor shall answer the following additional questions:

                       (a)    Does the defendant have present sufficient ability to consult with his
                              counsel with a reasonable degree of rational understanding?

                       (b)    Does the defendant have a rational, as well as a factual understanding
                              of the proceedings against him?

       2. Counsel shall furnish to Dr. Taylor any information pertinent to these issues, including

a copy of the indictment, and any pertinent medical reports.

       3. Upon completion of this examination Dr. Taylor shall prepare a written report which

includes the answers to the above questions and furnish it to Elizabeth A. Jenkins, United States

Magistrate, Chambers 11A, United States Courthouse, 801 North Florida Avenue, Tampa, Florida,

3360l with copies to Christopher Desrochers, Esq., 2504 Avenue G, N.W., Winter Haven, Florida

33880 and to Assistant United States Attorney Ashley Moody, 400 N. Tampa Street, Suite 3200,

Tampa, Florida, 33602.

        4. That a competency hearing may be scheduled before the undersigned at a date to be

announced.

        5. The United States Attorney's office, 400 N. Tampa Street, Suite 3200, Tampa, Florida,

33602, shall be billed directly for all services rendered in accordance with this Order.

             DONE and ORDERED at Tampa, Florida, this 3rd           day of August, 2006.




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